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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                  June 21, 2024
                        UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


TORRIN WILLIAMS,                            §
      Plaintiff,                            §
                                            §
VS.                                         § CIVIL ACTION NO. 4:23-CV-03491
                                            §
CAPITAL FUND I, LLC, et al.,                §
      Defendants.                           §



      ORDER DESIGNATING MAGISTRATE JUDGE ANDREW M. EDISON

       Magistrate Judge Andrew M. Edison is designated to handle matters that may be

referred in this case. Pursuant to 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73(b)(1) parties

are notified that they may consent to proceed before a United States Magistrate Judge.

Parties who consent may access the necessary form at the following link:

https://www.txs.uscourts.gov/sites/txs/files/consentmagp.pdf

        SIGNED at Houston, Texas on June 21, 2024.


                                                 _______________________________
                                                     GEORGE C. HANKS, JR.
                                                 UNITED STATES DISTRICT JUDGE




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